           CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 1 of 15




                              UNITED STATES DISTRICT COURT
                              DISTRICT COURT OF MINNESOTA

_______________________________________________________


BJORN IVERSON,
                                                                              COMPLAINT
        Plaintiff,                                                            SEEKING MONEY
                                                                              DAMAGES
v.

                                                                              DEMAND FOR
CITY OF BROOKLYN CENTER, a municipal entity;                                  JURY TRIAL
OFFICER JOHN DOE #1, in their individual capacity;
OFFICER JOHN DOE #2, in their individual capacity;
OFFICER JOHN DOE #3, in their individual capacity,
OFFICER JOHN DOE #4, in their individual capacity,
and OFFICER JOHN DOE #5, in their individual capacity,




        Defendants.

_______________________________________________________



                                  GENERAL INTRODUCTION

     1. This is an action under 42 U.S.C. § 1983 seeking money damages as compensation for

        Defendants’ violation of Plaintiff’s constitutional rights under the First, Fourth, and

        Fourteenth Amendments to the United States Constitution.

     2. Plaintiff Bjorn Iverson (“Iverson”) sustained serious injuries as a result of the

        unreasonable use of force on April 16, 2021, in addition to other violations of his

        constitutional rights by Defendants 1-5, Brooklyn Center Police Officers. The conduct of

        the Defendants violated Iverson’s clearly established federal civil rights, all while acting




                                                  1
      CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 2 of 15




   under the color of state law. State law claims and, by consequence, limitations and

   defenses under state law are not applicable to this civil rights lawsuit.

3. Iverson further asserts claims against the City of Brooklyn Center (sometimes referred to

   herein as the “City”) under Monell v. Department of Social Services, 436 U.S. 658

   (1978).

4. Iverson is and was at all times material herein, a citizen of the Unites States and a

   resident of the State of Minnesota.

5. Defendants John Does 1-5, upon information and belief, were at all times material herein

   citizens of the United States, residents of the State of Minnesota, and duly appointed and

   acting as officers of the Brooklyn Center Police Department (“BCPD”). They are sued in

   their individual capacities.

6. Defendant City of Brooklyn Center (“the City”) is a municipality duly incorporated under

   the laws of the State of Minnesota.

7. Iverson brings this action pursuant to 42 U.S.C. §§ 1983 and 1988, the First, Fourth and

   Fourteenth Amendments to the United States Constitution, and 28 U.S.C. §§ 1331 and

   1343(a)(3). The aforementioned statutory and constitutional provisions confer original

   jurisdiction of the Court over this matter.

8. The events giving rise to this action occurred in the City of Brooklyn Center. Venue is

   thus proper under 28 U.S.C. § 1391(b)(2).

                              FACTUAL BACKGROUND

9. On April 11, 2021, Daunte Wright, a 20-year-old biracial Black man, was fatally shot by

   police officer Kimberly Potter during a traffic stop and attempted arrest for an

   outstanding arrest warrant in Brooklyn Center, Minnesota. After a brief struggle with



                                             2
      CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 3 of 15




   officers, Wright was shot at close range. Video of the killing sparked outrage and many

   protests ensued as a call to change systemic racism in our nation’s police departments.

10. In the following days, thousands of Minnesota residents took to public streets and spaces

   to protest the unjustifiable killing of Mr. Wright, as well as police killings of other people

   of color. The vast majority of these protestors exercised their First Amendment rights in a

   forthright, peaceful, and lawful manner.

11. As was typical for the Brooklyn Center Police Department’s heavy-handed tactics, the

   protests – peaceful or not – were met with force by the BCPD, including the improper use

   of tear gas, 40 millimeter blunt-impact projectiles, and other supposedly “less lethal”

   munitions.

12. Plaintiff Iverson attended one of the protests in the aftermath of Mr. Wright’s slaying in

   an effort to exercise his constitutional rights as a member of the press (Iverson was

   working as a free-lance photojournalist).

13. On the evening of April 16, 2021, Iverson, like many other journalists, went to Brooklyn

   Center to cover the civil uprisings. He chose to head to the scene outside of the Brooklyn

   City Police Department to take pictures of the protest demonstrations and law

   enforcement. He did not anticipate being shot instead.

14. Iverson was clearly identifiable as a member of the news media. Not only was he alerting

   the police officers he was a member of the press by yelling out to them, but he also wore

   five patches indicating he was a member of the press/media. Iverson was also positioned

   in an area that was some distance away from the non-media protestors.




                                               3
      CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 4 of 15




   He was also using and was carrying his professional-grade camera and lens.

15. The City responded by shooting Iverson several times with projectiles (upon belief, 40

   mm projectiles and .68 cal marker rounds were shot at Iverson).

16. Iverson took part in First Amendment-protected activity. He became one of the many

   victims of the BCPD’s pattern and practice of excessive force without fear of

   repercussion.

17. Iverson was struck three times, in his knee, calf, and buttocks, resulting in serious

   injuries. Below are images of his wounds:

                                              4
CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 5 of 15




                              5
      CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 6 of 15




18. Iverson had not committed any crime and was never charged with any crime.

19. Iverson had not displayed any aggression.

20. Iverson was unarmed.

21. Iverson posed no threat to the officers or others.

22. In order to shoot Iverson with a blunt-impact projectiles, Defendant Does 1-3 had to

   execute a series of volitional acts.

23. Making matters worse, no BCPD officer, sworn to “protect and serve,” rendered aid to

   Iverson after he was shot.

24. Defendants Does 1-3 actions in shooting Iverson contravened BCPD policies (Policy 303

   of the Brooklyn Center PD Policy Manual) regarding the use of force.

25. The events surrounding the shooting of Iverson became particularly suspicious when all

   of the BCPD officers at the scene failed to render aid to a seriously injured person.
                                              6
      CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 7 of 15




26. The involved officers, who did not care about Iverson’s constitutional rights, showed they

   had no concern about him as a human being who was injured – a person they had sworn

   “to protect with courage and serve with compassion.”

27. The failure to report, or to accurately report, the use of force by BCPD officers occurred

   repeatedly in the days following Wright’s death by the Brooklyn Center Police

   Department.

28. In an effort to prevent accountability, there has been no transparency with regard to

   Iverson’s incident.

29. Additionally, upon information and belief, Defendants Does failed to follow BCPD

   policies with regard to report writing and supervisor notification.

30. The supervisory Defendants John Does 4 and 5 of the Brooklyn Center Police

   Department and policymakers at the City of Brooklyn Center had actual knowledge of

   the constitutionally infirm reporting and lack of adherence to BCPD policies among

   officers or were deliberately indifferent to the need for proper reporting by turning a blind

   eye.

31. Defendants have acquiesced in further frustration of Iverson’s civil rights by failing to

   require adherence to policies regarding report writing, supervisor notification and policy-

   violation notifications.

32. Defendants have acquiesced in numerous additional policy violations in regard to the

   events surrounding the shooting of Iverson.

33. The supervisory Defendants Does 4 and 5 were causally and directly involved in the

   violation of Iverson’s constitutional rights.




                                             7
      CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 8 of 15




34. Further, upon belief, multiple officers in the area of Iverson’s shooting were equipped

   with body-worn cameras (BWCs).

35. To date, Iverson has been unable to obtain any BWC footage of the incident from the

   BCPD or the City – either none exists or the City or BCPD is withholding it.

36. As a result of the department-wide reporting and cover-up methods, Iverson has been

   unable to identify the shooters – Defendants Does 1-3 – by name.

37. Prior to the shooting of Iverson, earlier that day, United States District Judge Wilhelmina

   M. Wright granted a temporary restraining order to stop law enforcement

   from attacking, harassing, and retaliating against reporters covering the Daunte Wright

   protests (see the Goyette case). Despite this order, the Defendants continued with their

   heavy-handed tactics, including shooting Iverson, a clearly identified member of the

   press. Even a federal court order did not halt Defendants’ unlawful, unconstitutional

   practices.

38. It should also be noted that curfews imposed in Brooklyn Center and Hennepin County

   specifically exempted journalists.

39. The actions by Defendants would chill any person of ordinary firmness from continuing

   to engage in the protected activities of the press and did in fact chill Iverson’s exercise of

   his First Amendment rights.

40. Photojournalism plays a vital role in the freedom of the press, particularly in such a

   tumultuous time in our nation’s history with regard to police excessive use of force and

   unauthorized use of force.

41. Defendants acted with deliberate indifference to the constitutional rights of the members

   of the press as evidenced by the recurring use of excessive force against them, chilling



                                             8
      CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 9 of 15




   the press’ ability to cover the matters of public concern, including law enforcement’s

   tactics during the protests.

42. Iverson sustained physical and mental injuries because of the unconstitutional actions of

   the City and John Does 1-5.

43. Iverson demands a trial by jury on all issues so triable.

                                         COUNT I
    42 U.S.C. § 1983 – FOURTH AND FOURTEENTH AMENDMENT VIOLATIONS
                          Plaintiff v. Defendants John Does 1-3

44. Iverson realleges and incorporates by reference herein each and every allegation

   contained in each paragraph above as though fully set forth herein.

45. By the actions described above, Defendants, under color of state law, violated and

   deprived Iverson of his clearly established and well-settled civil rights to be free from

   excessive force under the Fourth and Fourteenth Amendments to the United States

   Constitution.

46. Defendants John Does 1-3 subjected Iverson to these deprivations of his rights either

   maliciously or by acting with reckless disregard for whether his rights would be violated.

47. As a direct and proximate result of the acts and omissions of Defendants John Does 1-3,

   Iverson suffered injuries, was forced to endure great pain and mental suffering, and was

   damaged in an amount to be determined by the jury.

48. Punitive damages in an amount to be determined by the jury are available against

   Defendants John Does 1-3 and are hereby claimed as a matter of federal common law

   under Smith v. Wade, 461 U.S. 30 (1983), and as such, are not subject to the pleading

   requirements or the differing standard of proof set forth in Minn. Stat. § 549.20. 157.




                                              9
     CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 10 of 15




   Iverson is entitled to fully recover his costs, including reasonable attorneys’ fees, under

   42 U.S.C. § 1988.

                                         COUNT II
      42 U.S.C. § 1983 – FIRST AND FOURTEENTH AMENDMENT VIOLATIONS
                           Plaintiff v. Defendants John Does 1-5

49. Iverson realleges and incorporates by reference herein each and every allegation

   contained in each paragraph above as if fully set forth herein.

50. Iverson engaged in constitutionally protected acts. He did so in a public place and at all

   times obeyed the requests by City leaders.

51. Iverson was also lawfully exercising his First Amendment right to free press, speech, and

   assembly. He was reporting on matters of public concern, including the protests and the

   responses by the police department.

52. Defendants John Does 1-5, under color of state law, retaliated against Iverson for

   engaging in said constitutionally protected activity.

53. Iverson’s First and Fourteenth Amendment rights were violated when he was deliberately

   targeted and shot during the course of the protest, and in the cover-up perpetrated by

   Defendants John Does afterward.

54. The conduct of Defendants John Does tends to chill citizens from continuing to engage in

   constitutionally protected activity.

55. Defendants John Does 1-5 subjected Iverson to these deprivations of his rights either

   maliciously or by acting with reckless disregard for whether his rights would be violated.

56. As a direct and proximate result of the acts and omissions of Defendants John Does 1-5,

   Iverson suffered injuries, was forced to endure great pain and mental suffering, and was

   damaged in an amount to be determined by the jury.



                                             10
     CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 11 of 15




57. Punitive damages in an amount to be determined by the jury are available against

   Defendants John Does 1-5 and are hereby claimed as a matter of federal common law

   under Smith v. Wade, 461 U.S. 30 (1983), and as such, are not subject to the pleading

   requirements or the differing standard of proof set forth in Minn. Stat. § 549.20. 166.

   Iverson is entitled to fully recover his costs, including reasonable attorneys’ fees, under

   42 U.S.C. § 1988.

                                      COUNT III
  42 U.S.C. § 1983 – CONSPIRACY TO INTERFERE WITH THE ASSERTION OF
    IVERSON’S RIGHTS UNDER THE CONSTITUTION AND 42 U.S.C. § 1983
                        Plaintiff v. Defendants John Does 1-5

58. Iverson realleges and incorporates by reference herein each and every allegation

   contained in each paragraph above as though fully set forth herein.

59. Defendants John Does 1-5 agreed either to improperly report, or not report at all, the

   incident regarding Iverson.

60. Defendants John Does 1-5 improperly reported, or did not report at all, the incident

   regarding Iverson.

61. Defendants John Does 1-5 did so in concert and with the intent to shield themselves and

   other Defendants and thereby prevent the assertion of Iverson’s civil rights.

62. Defendants John Does 1-5, under color of state law, committed the above misconduct

   maliciously or with reckless disregard for whether Iverson’s rights would be violated.

63. As a direct and proximate result of the actions described above, which are tantamount to

   obstruction of justice, Defendants John Does 1-5 have conspired to interfere with and

   interfered with the assertion of Iverson’s civil rights, and Iverson was thereby damaged in

   an amount to be determined by the jury.




                                             11
     CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 12 of 15




64. Punitive damages in an amount to be determined by the jury are available against

   Defendants John Does 1-5 and are hereby claimed as a matter of federal common law

   under Smith v. Wade, 461 U.S. 30 (1983), and as such, are not subject to the pleading

   requirements or the differing standard of proof set forth in Minn. Stat. § 549.20.

65. Iverson is entitled to fully recover his costs, including reasonable attorneys’ fees, under

   42 U.S.C. § 1988.

                                          COUNT IV
                               SUPERVISORY LIABILITY
                          Plaintiff v. Defendants John Does 4 and 5
                                 in their individual capacities

66. Iverson realleges and incorporates by reference herein each and every allegation

   contained in each paragraph above as though fully set forth herein.

67. Defendants John Does 4 and 5 at all times material hereto were members of the Brooklyn

   Center Police Department with supervisory responsibilities over Defendants John Does 1-

   3.

68. These supervisory Defendants at the City of Brooklyn Center had actual knowledge of

   the constitutionally infirm force reporting in widespread use among officers.

69. As such, rank and file officers, such as Defendants John Does 1-3, freely and fragrantly

   violate citizens’ constitutional rights using department-wide reporting methods to cover it

   up.

70. The supervisory Defendants had actual knowledge of the improper reporting by their

   officers, including Defendants John Does 1-3 regarding the Iverson incident and other

   similar incidents, further evidencing a policy or custom of constitutional misconduct.




                                             12
     CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 13 of 15




71. These supervisory Defendants, under color of state law, acted with deliberate indifference

   to, authorized or acquiesced in the violation of Iverson’s constitutional rights by

   Defendants John Does 1-3.

72. As a direct and proximate result of the acts and omissions of Defendants John Does 4 and

   5, Iverson suffered injuries, was forced to endure great pain and mental suffering, and

   was damaged in an amount to be determined by a jury.

73. Punitive damages in an amount to be determined by a jury are available against

   Defendants John Does 4 and 5 and are hereby claimed as a matter of federal common law

   under Smith v. Wade, 461 U.S. 30 (1983), and as such, are not subject to the pleading

   requirements or the differing standard of proof set forth in Minn. Stat. § 549.20. 183.

   Iverson is entitled to fully recover his costs, including reasonable attorneys’ fees, under

   42 U.S.C. § 1988.

                                     COUNT V
      CIVIL RIGHTS VIOLATIONS MONELL V. DEP’T OF SOCIAL SERVICES
                   Plaintiff v. Defendant City of Brooklyn Center

74. Iverson realleges and incorporates by reference herein each and every allegation

   contained in each paragraph above as if fully set forth herein.

75. Before April 16, 2021, the City of Brooklyn Center, with deliberate indifference to the

   rights of citizens, initiated, tolerated, permitted, failed to correct, promoted and/or ratified

   a custom, pattern or practice on the part of its officers, including the Defendants herein,

   of the improper use of force.

76. Through policymakers Defendants and with the department’s ratification and approval,

   by failing to discipline all officers consistently on this point, there has been an approval

   of a deficient policy, custom, or practice of the improper use of force.



                                             13
     CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 14 of 15




77. Iverson’s injuries were directly and proximately caused by the aforementioned acts and

    omissions and by the City’s customs, patterns, and/or practices. The City of Brooklyn

    Center is thereby liable in an amount to be determined by a jury.

78. Iverson is entitled to fully recover his costs, including reasonable attorneys’ fees, under

    42 U.S.C. § 1988.

                                   PRAYER FOR RELIEF

    WHEREFORE, Plaintiff Iverson prays for judgment as follows:

    1. That this Court find that the Defendants committed acts and omissions violating the

First, Fourth and Fourteenth Amendments to the United States Constitution, actionable under

42 U.S.C. § 1983;

    2. As to Count I, a money judgment against Defendants John Does 1-3 for compensatory

damages and punitive damages in an amount to be determined by a jury, together with costs,

including reasonable attorneys’ fees under 42 U.S.C. § 1988 and prejudgment interest in an

amount in excess of $100,000;

    3. As to Count II, a money judgment against Defendants John Does 1-3 for compensatory

damages and punitive damages in an amount to be determined by a jury, together with costs,

including reasonable attorneys’ fees under 42 U.S.C. § 1988 and prejudgment interest in an

amount in excess of $100,000;

    4. As to Count III, a money judgment against Defendants John Does 1-5 for

compensatory damages and punitive damages in an amount in excess of $100,000, together

with costs, including reasonable attorneys’ fees under 42 U.S.C. § 1988 and prejudgment

interest;




                                             14
        CASE 0:21-cv-01903-JRT-DTS Doc. 1 Filed 08/23/21 Page 15 of 15




      5. As to Count IV, a money judgment against Defendants John Does 4 and 5 for

   compensatory damages and punitive damages in an amount to be determined by a jury,

   together with costs, including reasonable attorneys’ fees under 42 U.S.C. § 1988 and

   prejudgment interest in an amount in excess of $100,000;

      6. As to Count V, a money judgment against the City of Brooklyn Center for

   compensatory damages in an amount an amount to be determined by a jury, together with

   costs, including reasonable attorneys’ fees under 42 U.S.C. § 1988 and prejudgment interest

   in an amount in excess of $100,000;

      7. For an order mandating changes in the policies and procedures of the Brooklyn Center

   Police Department requiring, among other things, policy and training measures in the proper

   use of “non-lethal weapons,” the proper reporting of use of force, adherence to policies to

   ensure the identities of officer-shooters and witnesses are not shielded from victims, and

   relations and policing with those exercising their First Amendment rights; and

      8. For such other and further relief as this Court may deem just and equitable.



Dated: 8/23/2021                             MAGNA LAW FIRM LLC



                                           /s/ Oliver E. Nelson III
                                             Oliver Edward Nelson III, No. 0347280
                                             2915 South Wayzata Boulevard
                                             Minneapolis, MN 55405
                                             onelson@magnalaw.net
                                             (763) 234-4433


                                             Attorney for Plaintiff




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